AO 257 (Rev. 6/78)            Case 4:20-cr-00265-YGR Document 133 Filed 02/11/22 Page 1 of 5

       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT                INFORMATION                   INDICTMENT                       Name of District Court, and/or Judge/Magistrate Location
                                                                 SUPERSEDING                        NORTHERN DISTRICT OF CALIFORNIA
          OFFENSE CHARGED
                                                                                                                  OAKLAND DIVISION
 Count One: 18 U.S.C. §§ 924(j)(1) and 2 - Use of a Firearm in          Petty
 Furtherance of a Crime of Violence Resulting in Death

 Count Two: 18 U.S.C. §§ 1114(3), 1111, and 2 - Attempted
                                                                        Minor              DEFENDANT - U.S                                   FILED
 Murder of a Person Assisting an Officer or Employee of the             Misde-
 U.S. Government                                                        meanor                STEVEN CARRILLO                                 Feb 11 2022

                                                                        Felony                                                              Mark B. Busby
                                                                                              DISTRICT COURT NUMBER                   CLERK, U.S. DISTRICT COURT
PENALTY:       See Attached
                                                                                              4:20-cr-00265-YGR-1                  NORTHERN DISTRICT OF CALIFORNIA
                                                                                                                                               OAKLAND


                                                                                                                        DEFENDANT
                              PROCEEDING                                                        IS NOT IN CUSTODY
                                                                                                  Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                               1)       If not detained give date any prior
                                        FBI
                                                                                                  summons was served on above charges         
       person is awaiting trial in another Federal or State Court,                       2)       Is a Fugitive
       give name of court
                                                                                         3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                IS IN CUSTODY
                                                                                         4)       On this charge
       this is a reprosecution of

                                                                                                                                   }
       charges previously dismissed                                                      5)       On another conviction
       which were dismissed on motion                              SHOW                                                                      Federal         State


                                                         }
       of:                                                       DOCKET NO.
                                                                                         6)       Awaiting trial on other charges
             U.S. ATTORNEY               DEFENSE
                                                                                                   If answer to (6) is "Yes", show name of institution

       this prosecution relates to a

                                                                                                                            }
                                                                                                                  Yes            If "Yes"
       pending case involving this same                                                       Has detainer
                                                                                                                                 give date
       defendant                                                 MAGISTRATE                   been filed?         No             filed


                                                         }
                                                                  CASE NO.
                                                                                              DATE OF                    Month/Day/Year
       prior proceedings or appearance(s)
       before U.S. Magistrate regarding this                                                  ARREST
       defendant were recorded under                                                          Or... if Arresting Agency & Warrant were not

Name and Office of Person                                                                     DATE TRANSFERRED                         Month/Day/Year
Furnishing Information on this form                 Stephanie M. Hinds                        TO U.S. CUSTODY
                                  U.S. Attorney           Other U.S. Agency

Name of Assistant U.S.                                                                             This report amends AO 257 previously submitted
Attorney (if assigned)                        Jonathan U. Lee
                                                         ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
            SUMMONS                 NO PROCESS*                  WARRANT         Bail Amount:
        If Summons, complete following:
             Arraignment    Initial Appearance                                   * Where defendant previously apprehended on complaint, no new summons or
                                                                                 warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                                 Date/Time:                                 Before Judge:

        Comments:
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                                    MAXIMUM PENALTIES

                        United States v. Steven Carrillo, &5<*5

                                      Superseding Information


COUNT ONE: 18 U.S.C. §§ 924(j)(1) and 2 - Use of a Firearm in Furtherance of a Crime of
Violence Resulting in Death

   1.   A maximum term of imprisonment of any term of years or life
   2.   A minimum term of imprisonment of 10 years
   3.   A maximum term of supervised release of 5 years
   4.   A maximum fine of $250,000
   5.   A special assessment of $100
   6.   Restitution
   7.   Forfeiture

COUNT TWO: 18 U.S.C. §§ 1114(3), 1111, and 2 - Attempted Murder of a Person Assisting an
Officer or Employee of the U.S. Government

   1.   A maximum term of imprisonment of 20 years
   2.   A maximum term of supervised release of up to life
   3.   A maximum fine of $250,000
   4.   A special assessment of $100
   5.   Restitution
   6.   Forfeiture
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 1 STEPHANIE M. HINDS (CABN 154284)
   United States Attorney                                                         FILED
 2
                                                                                    Feb 11 2022
 3                                                                                 Mark B. Busby
                                                                             CLERK, U.S. DISTRICT COURT
 4                                                                        NORTHERN DISTRICT OF CALIFORNIA
                                                                                      OAKLAND
 5

 6

 7                                   UNITED STATES DISTRICT COURT

 8                                 NORTHERN DISTRICT OF CALIFORNIA

 9                                           OAKLAND DIVISION

10

11   UNITED STATES OF AMERICA,                       )   CASE NO. 20-CR-265-1 YGR
                                                     )
12           Plaintiff,                              )   VIOLATIONS:
                                                     )   18 U.S.C. §§ 924(j)(1) and 2 – Use of a Firearm in
13      v.                                           )   Furtherance of a Crime of Violence Resulting in
                                                     )   Death; 18 U.S.C. §§ 1114(3), 1111 – Attempted
14   STEVEN CARRILLO,                                )   Murder of a Person Assisting an Officer or Employee
                                                     )   of the United States Government; 18 U.S.C. § 2 –
15           Defendant.                              )   Aiding and Abetting; 18 U.S.C. § 924(d)(1), 21
                                                     )   U.S.C. § 853, 28 U.S.C. § 2461(c) – Forfeiture
16                                                   )
                                                     )   OAKLAND VENUE
17                                                   )
                                                     )
18

19

20                               SUPERSEDING INFORMATION
21 The United States Attorney charges:

22 COUNT ONE:              (18 U.S.C. §§ 924(j)(1) and 2 – Use of a Firearm in Furtherance of a Crime of
                           Violence Resulting in Death)
23

24           1. On or about May 29, 2020, in the Northern District of California, the defendant,

25                                            STEVEN CARRILLO,

26 did, unlawfully, knowingly, and willfully, with deliberation and premeditation, and with malice

27 aforethought, murder victim D.U., a Protective Security Officer contracted to provide security in

28 assistance of the Federal Protective Service, part of the Department of Homeland Security, an agency

     SUPERSEDING INFORMATION
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 1 within the executive branch of the United States Government, while D.U. was assisting officers and

 2 employees of the United States in the performance of official duties and on account of that assistance,

 3 and did aid, abet, counsel, induce, and procure the same, in violation of Title 18, United States Code,

 4 Sections 1114(1), 1111.

 5          2.      On or about May 29, 2020, in the Northern District of California, the defendant,

 6                                            STEVEN CARRILLO,

 7 with another known individual, each aided and abetted by each other, committed a violation of Title 18,

 8 United States Code, Section 924(c), that is, unlawfully and knowingly used and carried a firearm during

 9 and in relation to a crime of violence for which he may be prosecuted in a court of the United States,

10 namely, First Degree Murder of a Person Assisting an Officer or Employee of the United States

11 Government (Title 18, United States Code, Sections 1114(1), 1111), as set forth above of D.U., and

12 knowingly possessed a firearm in furtherance of such crime, and in the course of such violation, caused

13 the death of D.U. through the use of a firearm, which killing was first degree murder as defined in Title

14 18, United States Code, Section 1111(a), all in violation of Title 18, United States Code, Sections

15 924(j)(1) and 2.

16 COUNT TWO:              (18 U.S.C. §§ 1114(3), 1111, 2(a) – Attempted Murder of a Person Assisting an
                           Officer or Employee of the United States Government; Aiding and Abetting)
17

18          2.      On or about May 29, 2020, in the Northern District of California, the defendant,

19                                            STEVEN CARRILLO,

20 did, with premeditation and malice aforethought, attempt to unlawfully kill victim S.M., a Protective

21 Security Officer contracted to provide security in assistance of the Federal Protective Service, part of the

22 Department of Homeland Security, an agency within the executive branch of the United States

23 Government, while S.M. was assisting officers and employees of the United States in the performance of

24 official duties and on account of that assistance, and did aid, abet, counsel, induce, and procure the

25 same, in violation of Title 18, United States Code, Sections 1114(3), 1111, and 2(a).

26 FORFEITURE ALLEGATION: (18 U.S.C. § 924(d)(1), 21 U.S.C. § 853(a), and 28 U.S.C. § 2461(c))

27          3.      The factual allegations contained in Counts One and Two of this Superseding

28 Information are hereby realleged and by this reference fully incorporated herein for the purpose of

     SUPERSEDING INFORMATION                         2
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 1 alleging forfeiture pursuant to the provisions of 18 U.S.C. § 924(d)(1).

 2          4.     Upon a conviction for the offenses alleged in Counts One and Two above, the defendant,

 3                                           STEVEN CARRILLO,

 4 shall forfeit to the United States any firearm or ammunition involved in or used in any knowing

 5 violation of said offenses, to wit one AR-15-style rifle, specifically, a 9x19 mm caliber Privately Made

 6 Firearm with no manufacturer’s markings and an overall length of approximately 23-1/8 inches that

 7 accepts Glock-type magazines and is a fully automatic machinegun that was seized in Ben Lomond,

 8 California, on or about June 6, 2020.

 9          All in violation of 18 U.S.C. § 924(d); 21 U.S.C. § 853; 28 U.S.C. § 2461(c); and Federal Rule

10 of Criminal Procedure 32.2.

11

12 DATED: _February 11, 2022__                           STEPHANIE M. HINDS
                                                         United States Attorney
13
                                                         Jonathan U. Lee
14                                                       JONATHAN U. LEE
                                                         Assistant United States Attorney
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     SUPERSEDING INFORMATION                        3
